                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                  )
                                           )
   ROBERTS, WILLIAM BARRIER                ) CASE NO. 18-83442-CRJ11
   SSN: XXX-XX-9314                        ) CHAPTER 11
                                           )
       Debtor.                             )

    SECOND AMENDED DISCLOSURE STATEMENT FOR CHAPTER 11 PLAN OF
                     WILLIAM BARRIER ROBERTS
                 DEBTOR AND DEBTOR-IN-POSSESSION


                                    AUGUST 15, 2019




 STUART M. MAPLES
 MAPLES LAW FIRM, PC
 200 Clinton Ave. W, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com

 Counsel for Debtor-in-Possession




Case 18-83442-CRJ7      Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50   Desc Main
                               Document    Page 1 of 35
                   Solicitation of Votes with Respect to the Chapter 11 Plan

                                                   of

                               WILLIAM BARRIER ROBERTS

       WILLIAM BARRIER ROBERTS, DEBTOR AND DEBTOR-IN-POSSESSION (THE
 “DEBTOR” OR “ROBERTS”), BELIEVES THAT THE DEBTOR’S CHAPTER 11 PLAN
 DATED MAY 20, 2019 (THE “PLAN”), IS IN THE BEST INTERESTS OF ITS CREDITORS.
 ALL CREDITORS ARE PROVIDED FOR IN THIS DISCLOSURE STATEMENT. TO BE
 COUNTED, YOUR BALLOT MUST BE DULY COMPLETED, EXECUTED, AND
 RECEIVED BY COUNSEL FOR THE DEBTOR, STUART M. MAPLES, MAPLES LAW
 FIRM, PC, 200 CLINTON AVENUE WEST, SUITE 1000, HUNTSVILLE, ALABAMA, 35801,
 BEFORE 5:00 P.M. ON _________________, 2019 (THE “VOTING DEADLINE”).

      ALL CREDITORS ARE ENCOURAGED TO READ AND CONSIDER
 CAREFULLY THIS ENTIRE DISCLOSURE STATEMENT, INCLUDING THE PLAN,
 PRIOR TO SUBMITTING BALLOTS PURSUANT TO THIS SOLICITATION. THIS
 DISCLOSURE STATEMENT CONTAINS ONLY A SUMMARY OF THE PLAN, AND IS
 NOT INTENDED TO REPLACE CAREFUL AND DETAILED REVIEW AND ANALYSIS
 OF THE PLAN.

                                  -------------------------------------

      ALL CAPITALIZED TERMS IN THIS DISCLOSURE STATEMENT NOT
 OTHERWISE DEFINED HEREIN HAVE THE MEANINGS GIVEN TO THEM IN THE PLAN.
 THE SUMMARIES OF THE PLAN AND THE OTHER DOCUMENTS CONTAINED IN THIS
 DISCLOSURE STATEMENT ARE QUALIFIED BY REFERENCE TO THE PLAN AND
 SUCH OTHER DOCUMENTS THEMSELVES.

                                  -------------------------------------

 I.     INTRODUCTION.

        A.      Preliminary Statement.

        On November 16, 2018, William Barrier Roberts, debtor and debtor-in-possession (the
 “Debtor”), filed a voluntary bankruptcy petition under Chapter 11 of the Bankruptcy Code before
 the United States Bankruptcy Court for the Northern District of Alabama, Northern Division. The
 Debtor is managing his assets, business and financial affairs as a debtor-in-possession, subject to
 the supervision of the Bankruptcy Court and the provisions of the Bankruptcy Code.




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                Desc Main
                                 Document    Page 2 of 35
         As set forth in more detail below, the Plan provides that the Debtor shall be allowed to
 retain his assets, which are subject to certain liens and interest, of which the Debtor has agreed to
 pay as provided for in the Plan.

        Accompanying this Disclosure Statement are copies of the following:

                1.      The Order of the Bankruptcy Court dated ______________, 2019,
                        approving this Disclosure Statement and solicitation and voting procedures
                        related to the Plan and setting the hearing on confirmation of the Plan for
                        _______________, 2019.

                2.      The Plan.

                3.      A ballot for accepting or rejecting the Plan. Ballots are provided to
                        holders of Allowed Claims in Classes 1, 2, 3 and 4 so that they may vote to
                        accept or reject the Plan under the provisions of the Bankruptcy Code. See
                        Section I.B.2 (“Voting on the Plan”) for additional information regarding
                        ballots and voting procedures.

        B.      Plan Confirmation Process.

                1.      Approval of Disclosure Statement.

        After notice and a hearing held on _______________, by order dated ____________, 2019,
 pursuant to § 1125 of the Bankruptcy Code, the Bankruptcy Court approved this Disclosure
 Statement as containing information of a kind, and in sufficient detail, that would enable a
 hypothetical reasonable investor typical of the holders of claims or interests in Classes 1, 2, 3 and
 4 to make an informed judgment whether to accept or reject the Plan. The Bankruptcy Court’s
 approval of this Disclosure Statement, however, does not constitute a determination by the
 Bankruptcy Court as to the fairness or merits of the Plan.


                2.      Voting on the Plan.

                (a)     Who May Vote. Pursuant to § 1126 of the Bankruptcy Code, holders of
                Allowed Claims or Interests may vote to accept or reject the Plan, provided,
                however, that (i) the holders of Claims or Interests in classes that are not
                conclusively impaired under the Plan are presumed to have accepted the Plan and
                solicitation of acceptances with respect to such classes is not required, and (ii) a
                class is deemed not to have accepted the Plan if the Plan provides that the Claims
                or Interests of such class do not entitle the holders of such Claims or Interests to
                receive or retain any property under the Plan on account of such Claims or Interests.
                Accordingly, the Debtor is soliciting acceptance of the Plan only from holders of
                Claims or Interests in the following classes, which are “impaired” under the Plan
                and are entitled to accept or reject the Plan:




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                                 Document    Page 3 of 35
                       •    Unclassified: Administrative Expense Claims
                                          Tax Claims

                       •    Class 1 – Allowed Secured Claims
                       •    Class 2 - Allowed Unsecured Claims
                       •    Class 3 – Individual Equity
                       •    Class 4 – Shannon League Roberts Domestic Support Obligations

         Only Persons who hold Claims or Interests in the foregoing impaired classes are entitled
 to vote to accept or reject the Plan.

      THE DEBTOR BELIEVES THAT ACCEPTANCE OF THE PLAN IS IN THE
 BEST INTERESTS OF HOLDERS OF CLAIMS AND INTERESTS IN ALL IMPAIRED
 CLASSES. THE DEBTOR RECOMMENDS THAT ALL PERSONS ENTITLED TO
 VOTE CAST A BALLOT TO ACCEPT THE PLAN.

               (b)    Deadline for Voting. The Bankruptcy Court has fixed 5:00 p.m. (Central
               Time) on ___________, as the deadline for voting. To be counted, all ballots must
               be completed and received, as set forth below, before the Voting Deadline.

               (c)    Voting Procedures. Holders of Claims in Classes 1, 2, 3 and 4 should
               complete and sign the enclosed Ballot and deliver it by mail, hand or overnight
               delivery to:

                                        Stuart M. Maples
                                      Maples Law Firm, PC
                                 200 Clinton Ave. W., Suite 1000
                                   Huntsville, Alabama 35801

        TO BE COUNTED, YOUR BALLOT MUST BE RECEIVED BY THE VOTING
 DEADLINE OF 5:00 P.M. CENTRAL TIME ON _______________. You must ensure the
 receipt of the ballot before the Voting Deadline. Ballots received after the Voting Deadline
 will not be counted.

               (d)     Significance of Voting. The vote for each holder of a claim in an impaired
               class is important. Acceptance by each impaired class of claims is a condition to
               confirmation of the Plan on a consensual basis. The Bankruptcy Code defines
               “acceptance” of a plan by a class of creditors as acceptance by holders of two-thirds
               in dollar amount and more than one-half in number of the claims of that class that
               actually cast ballots for acceptance or rejection of the Plan. If a class or classes of
               impaired Claims does not accept the Plan, the Debtor has required confirmation of
               the Plan under the “cram down” provisions of § 1129(b) of the Bankruptcy Code,
               which permits confirmation, notwithstanding non-acceptance by one or more
               impaired classes, if the Plan does not discriminate unfairly and is “fair and
               equitable” with respect to each non-accepting class. THESE CALCULATIONS
               ARE BASED ONLY ON THE CLAIM AMOUNTS AND NUMBER OF




Case 18-83442-CRJ7         Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                Desc Main
                                  Document    Page 4 of 35
                CREDITORS WHO ACTUALLY VOTE.                            THE VOTE OF EACH
                CREDITOR IS IMPORTANT.

        The Debtor will prepare and file with the Court a certification of the results of the balloting
 with respect to the Plan. ANY BALLOTS RECEIVED AFTER THE VOTING DEADLINE
 WILL NOT BE COUNTED, NOR WILL ANY BALLOTS RECEIVED BY FACSIMILE
 BE ACCEPTED.

                3.      Confirmation Hearing.

        Pursuant to § 1128 of the Bankruptcy Code, the Bankruptcy Court shall schedule a
 confirmation hearing to consider confirmation of the Plan.

        At the Confirmation Hearing, the Court will (i) determine whether the requisite vote has
 been obtained for each Class, (ii) hear and determine objections, if any, to the Plan and to
 confirmation of the Plan that have not been previously disposed of, (iii) determine whether the
 Plan meets the confirmation requirements of the Bankruptcy Code, and (iv) determine whether to
 confirm the Plan.

        Any objection to confirmation of the Plan must be in writing and filed and served as
 required by the Court pursuant to the Order Approving Disclosure Statement. Specifically, all
 objections to the confirmation of the Plan must be served in a manner so as to be received on
 or before _____________________, 2019, at 5:00 p.m. (Central Time) by:

                (a)     Clerk of the Court, United States Bankruptcy Court, 400 Wells Street, P.O.
                        Box 3045, Decatur, Alabama, 35602.

                (b)     Counsel to the Debtor, Stuart M. Maples, Maples Law Firm, PC, 200
                        Clinton Ave. West, Suite 1000, Huntsville, Alabama, 35801; and

                (c)     Richard Blythe, Office of the Bankruptcy Administrator, 400 Wells Street,
                        P.O. Box 3045, Decatur, Alabama, 35602.


 II.    BUSINESS AND HISTORY OF DEBTOR.

        A.      Overview of Debtor.
                The Debtor is a minority, non-controlling member of B&B. B&B owns and
        operates an indoor shooting range and associated goods shop in a facility located in
        Huntsville, Alabama. The Debtor is also a 50% owner of Roberts, LLC, which owns real
        estate around B&B.

        B.       History.
                 After watching a close friend build and operate a successful indoor shooting range
        facility in Carrollton, Georgia, Roberts decided to put together a business plan to build an
        indoor shooting range facility in Huntsville, Alabama. On August 5, 2016 the Debtor
        incorporated Bullet & Barrel, Inc., and was the sole shareholder of such corporate entity at




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                                 Document    Page 5 of 35
       that time. Shortly thereafter, Roberts met with Dr. Rhett Murray about investing in Bullet
       & Barrel, Inc., and Dr. Murray ultimately agreed. On April 19, 2017, the Debtor filed a
       Statement of Conversion with the Alabama Secretary of State, converting Bullet & Barrel,
       Inc. into Bullet & Barrel, LLC (“B&B”). At about the same time, Roberts and Melanie
       Murray became B&B’s minority and majority members and entered into a limited liability
       company agreement for B&B effective as of August 5, 2016. Roberts obtained funding for
       his minority interest in the company from funds gifted to him by his father, Roscoe Roberts,
       Jr., in the amount of $450,000.00 and from his mother-in-law, Charlotte Schlitter, in the
       amount of $150,000.00.
                The Debtor alleges the primary reason for this bankruptcy arises from the
       mismanagement of B&B by the majority member/Sole Management Committee member,
       as well as the “squeeze out” and dilution of the Debtor’s interest in B&B, all in breach of
       the majority member’s/Sole Management Committee member’s fiduciary duties owed to
       Debtor. The Debtor invested money into the business, and the Debtor alleges the majority
       member/Sole Management Committee member took steps to dilute the Debtor’s interest in
       the company. The Debtor alleges that due to mismanagement and majority oppression, the
       Debtor has become financially distressed. The B&B majority member/Sole Management
       Committee member denies these allegations.

       C.     Financial History.

              2018 Gross Income:                    $0.00
              2017 Gross Income:                    $139,201.00
              2016 Gross Income:                    $154,419.00

              This leaves an average Gross Income of $97,873.33 from 2016–18.

       D.      Assets.
               A copy of Schedule A/B, which is attached hereto as Exhibit 1, accurately lists all
       assets of the Debtor.

       E.     Projection of Income.

               The Debtor is currently working at Madison Beverage in Madison, Alabama, and
       projects making the following in Gross Income from full-time employment for each of the
       next three (3) years as follows:

              2020: $41,600
              2021: $41,600
              2022: $41,600

              It is the best estimate of the Debtor that he will receive net income and benefits of
       approximately $41,600.00 per year for the projected years. The only potential for increase
       would be the outcome of the Adversary Proceeding.




Case 18-83442-CRJ7      Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                               Document    Page 6 of 35
                 Monthly Disposable Income

                 Debtor Monthly Income                      $3,467.00

                 Total Monthly Debtor Income:               $3,467.00

                 Monthly Household Expenses                -$2,421.00
                 Gross Monthly Disposable Income            $1,046.00

                 Plan Payments                               -$345.00 (per month)
                 Net Monthly Disposable Income                $701.00

       F.   Debt Structure.

            1.       Administrative Expense Claims.

                   At Confirmation, the Debtor anticipates administrative expense claims
            allowable under the Plan by the following:

                     (i)   Maples Law Firm, P.C., in the approximate amount of $30,000.00.
                     (ii)  Julie Lockwood of Van Valkenburgh & Wilkinson Properties, Inc.
                           in the amount of 6% of the sales proceeds from the sale of Debtor’s
                           marital home.
                     (iii) Callahan, PC, in the approximate amount of $164,074.70.
                     All Administrative Claims are Unclassified.

            2.       Tax Claims.
                     The Debtor currently owes two priority tax claims:

                     a.       Internal Revenue Service for 2017 individual income tax in the
                              amount of $13,089.88.

                     b.       Alabama Department of Revenue for 2017 individual income tax in
                              the amount of $5,630.62.

                   Additional taxes may also be due to other to other governmental entities.
            All Tax Claims are Unclassified.




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50          Desc Main
                                 Document    Page 7 of 35
               3.      Allowed Secured Claims.

                       The Debtor currently has the following secured lenders:

                          Class 1(a) shall consist of the Allowed Secured Claim No. 8 of GMFS,
                          LLC c/o Specialized Loan Servicing, LLC in the amount of
                          $305,639.65.

                          Class 1(b) shall consist of the Allowed Secured Claim of Smart Bank in
                          the amount of $185,000.00.

                          These claims are secured by the Debtor’s marital residence located at
                          2203 Annadale Road, Huntsville, Alabama 35801. The Debtor’s
                          interest in this property is 50%. There is a significant amount of equity
                          in the property securing the claims of GMFS, LLC c/o Specialized Loan
                          Servicing, LLC and Smart Bank. The property is currently listed for
                          sale and once sold, will pay off both secured creditors and still have
                          money left in the estate.

                     The Plan places the Allowed Secured Claims in Classes 1(a) through 1(b).
               Allowed Secured Claims Classes 1(a) through 1(b) are to be paid by the Debtor.

               4.      Summary of Unsecured Debt.

                       The Plan places all Allowed Unsecured Claims in Class 2. The total amount
               of these claims is in excess of $10,535,775.86.

        The Debtor reserves all rights, claims and defenses with respect to the allowance, amount
 and classification of all unsecured claims. Moreover, some of the claims are disputed or
 unliquidated. Additional claims may be unknown to the Debtor. The Debtor reserves all rights
 and make no representation or warranty as to the amount of Allowed Unsecured Claims.

          G.     Potential Claims of Debtor. The Debtor is currently pursuing a claim against
 Melanie Murray regarding Roberts, LLC and B&B, ownership and operation. The results of this
 litigation should be a significant source of funding to pay Allowed claims in this case.

 III.   EVENTS LEADING TO CHAPTER 11.

         The main reason for this bankruptcy arises from the alleged mismanagement of B&B by
 the majority member/Sole Management Committee member. The Debtor has invested money into
 that business and, due to the alleged mismanagement and majority oppression, the Debtor has
 become financially distressed. The majority member/Sole Management Committee member
 denies these allegations.




Case 18-83442-CRJ7       Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                Desc Main
                                Document    Page 8 of 35
 IV.    CHAPTER 11 PROCEEDINGS.

         Post-Filing Operations. After the Debtor filed this Chapter 11 case, the Debtor managed
 his assets and affairs as a debtor-in-possession pursuant to §§ 1107 and 1108 of the Bankruptcy
 Code. The Debtor will file monthly reports with the Bankruptcy Court summarizing his post-filing
 operating results.


 V.     SUMMARY OF PLAN.


          NOTE: The following is a summary of the Plan. Read the Plan itself for a full disclosure
 of its contents. The following summary is provided for convenience only and is not intended as a
 complete statement of the terms of the Plan. If the summary conflicts in any way with the Plan,
 the terms of the Plan shall control. REFERENCE TO THE PLAN IS NECESSARY FOR A
 FULL UNDERSTANDING OF ITS TERMS.

        A.     Overview. The Plan provides for the payment of secured, unsecured priority, and
               unsecured debt.

               1.      Classification of Claims and Interests. The Plan recognizes certain
               Unclassified Claims and places other Claims against the Debtor in the impaired
               classes.

               2.      Unclassified Claims.

                       Administrative Expense Claims.: Administrative expense claims shall
               consist of all administrative expense claims of the Debtor's Chapter 11 case as
               allowed pursuant to § 503(b) of the Code and given priority in accordance with §
               507(a)(1) of the Code. This class is divided into the following sub-classes:
                       (i)     Maples Law Firm, P.C.: Debtor has incurred legal fees with the law
                       firm of Maples Law Firm, P.C. relating to the firm’s representation of the
                       Debtor in Bankruptcy. These legal fees, if approved by the Court, shall
                       constitute an Administrative Expense Claim in the amount of $30,000.00
                       which is unimpaired and shall be paid in full as of the Effective Date of the
                       Plan.

                       (ii)    Julie Lockwood of Van Valkenburgh & Wilkinson Properties, Inc.:
                       Debtor retained Julie Lockwood as its Realtor for the efficient sale of certain
                       real Property, pursuant the Order entered on July 9, 2019 [See Doc. 130].
                       These fees, if approved by the Court, shall constitute an Administrative
                       Expense Claim which is unimpaired and shall be paid in full as of the
                       Effective Date of the Plan.

                       (iii) Callahan PC: Debtor retained Callahan PC as special counsel to aid
                       in representation of the Debtor in oppression litigation concerning his
                       interest in B&B, pursuant to the Order entered on February 21, 2019 [See



Case 18-83442-CRJ7       Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                                Document    Page 9 of 35
                     Doc. 54]. These legal fees, if approved by the Court, shall constitute an
                     Administrative Expense Claim in the amount of $164,074.70 which is
                     unimpaired and shall be paid in full as of the Effective Date of the Plan.


                     Tax Claims.


                     (i)    IRS: The IRS asserts a Priority Claim of $13,089.88 for the
                            Debtor’s 2017 individual income taxes.

                     (ii)   Alabama Department of Revenue: The Alabama Department of
                            Revenue asserts a Priority Claim of $5,630.62 for the Debtor’s 2017
                            individual income taxes.

            3.       Classified Claims.

                     Class 1 – Allowed Secured Claims.

                     Class 1(a) shall consist of the Allowed Secured Claim No. 8 of GMFS, LLC
                     c/o Specialized Loan Servicing, LLC in the amount of $305,639.65.

                     Class 1(b) shall consist of the Allowed Secured Claim of Smart Bank in the
                     amount of $185,000.00.

                     These claims are secured by the Debtor’s marital residence located at 2203
                     Annadale Road, Huntsville, Alabama 35801. The Debtor’s interest in this
                     property is 50%. There is a significant amount of equity in the property
                     securing the claims of GMFS, LLC c/o Specialized Loan Servicing, LLC
                     and Smart Bank. The property is currently listed for sale and once sold, will
                     pay off both secured creditors and still have money left in the estate.

                     Class 2 -Allowed Unsecured Claims.

                     Class 2 shall consist of the Allowed Unsecured Claims of all other
                     unsecured creditors.

                     Class 3 – Individual Equity.

                     Class 3 shall consist of Individual Equity Claims of the Debtor. No payment
                     will be made unless all Allowed Unsecured Claims are paid in full. No
                     Individual Equity payments are expected at this time other than Debtor’s
                     monthly household expenses, which are attached hereto as Exhibit 2.




Case 18-83442-CRJ7     Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                             Document     Page 10 of 35
                     Class 4 – Shannon League Roberts Domestic Support Obligations.

                     Class 4 shall consist of the domestic support obligations to Shannon League
                     Roberts arising from the Divorce Proceedings filed in Madison County
                     Circuit Court Case No. DR-2018-900823; Shannon Roberts v. William B.
                     Roberts. Settlement discussions are ongoing, but no resolution has been
                     reached at this time.

       B.   Treatment of Impaired Classes. The treatment of all claims and interests shall be
            in accordance with the Plan.

            1.       UNCLASSIFIED CLAIMS.

                   a.      Administrative Expense Claims. This class shall consist of all
            administrative expense claims of the Debtor's Chapter 11 case as allowed pursuant
            to § 503(b) of the Code and given priority in accordance with § 507(a)(1) of the
            Code. This class is divided into the following sub-classes:

                              (i)    Maples Law Firm, P.C.: Debtor has incurred legal fees with
                     the law firm of Maples Law Firm, P.C., relating to the firm’s representation
                     of the Debtor in Bankruptcy in the amount of $30,000.00. These legal fees,
                     if approved by the Court, shall constitute an Administrative Expense Claim
                     which is unimpaired and shall be paid in full as of the Effective Date of the
                     Plan.
                              (ii)   Julie Lockwood of Van Valkenburgh & Wilkinson
                     Properties, Inc.: Debtor retained Julie Lockwood as its Realtor for the
                     efficient sale of certain real Property, pursuant the Order entered on July 9,
                     2019 [See Doc. 130]. These fees, if approved by the Court, shall constitute
                     an Administrative Expense Claim which is unimpaired and shall be paid in
                     full as of the Effective Date of the Plan.

                             (iii) Callahan PC: Debtor retained Callahan PC as special
                     counsel to aid in representation of the Debtor in oppression litigation
                     concerning his interest in B&B, pursuant to the Order entered on February
                     21, 2019 [See Doc. 54]. These legal fees, if approved by the Court, shall
                     constitute an Administrative Expense Claim in the amount of $164,074.70
                     which is unimpaired and shall be paid in full as of the Effective Date of the
                     Plan.


                     b.       Tax Claims.


                           (i)      IRS: The IRS asserts a Priority Claim of $13,089.88. The
                     Allowed Priority Claim of the IRS shall be paid in the sixty (60) equal
                     monthly installments, commencing sixty (60) days after the Effective Date




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50              Desc Main
                                Document     Page 11 of 35
                     of the Plan. Payment on the IRS Tax Claim shall be $241.00 per month, at
                     4% interest, per annum.

                              During the pendency of the repayment period for the pre-petition tax
                     debt owed to the IRS, in the event the Debtors fail to remit any monthly
                     payment on the IRS unsecured priority claim as each payment becomes due;
                     or, timely file any and all post-petition federal income tax returns by the due
                     date for each respective tax period including any extensions and pay the
                     taxes due on the return; the automatic stay will be considered terminated
                     and the IRS may proceed with its legal and/or administrative remedies to
                     collect any and all sums due on its amended claim and any post-petition
                     liability.

                             (ii)   Alabama Department of Revenue:             The Alabama
                     Department of Revenue asserts a Priority Claim of $5,630.62. The Allowed
                     Priority Claim of the Alabama Department of Revenue shall be paid in the
                     sixty (60) equal monthly installments, commencing sixty (60) days after the
                     Effective Date of the Plan. Payment on the Alabama Department of
                     Revenue Tax Claim shall be $104.00 per month, at 4% interest, per annum.


            2.       CLASSIFIED CLAIMS.

                     Class 1 –Secured Claims.

                     Class 1(a) shall consist of the Allowed Secured Claim No. 8 of GMFS, LLC
                     c/o Specialized Loan Servicing, LLC in the amount of $305,639.65

                     Class 1(b) shall consist of the Allowed Secured Claim of Smart Bank in the
                     amount of $185,000.00.

                     These claims are secured by the Debtor’s marital residence located at 2203
                     Annadale Road, Huntsville, Alabama 35801. The Debtor’s interest in this
                     property is 50%. There is a significant amount of equity in the property
                     securing the claims of GMFS, LLC c/o Specialized Loan Servicing, LLC
                     and Smart Bank. The property is currently listed for sale and once sold, will
                     pay off both secured creditors and still have money left in the estate.

                     Class 2 -Unsecured Claims.

                     Class 2 shall consist of the Allowed Unsecured Claims of all other
                     unsecured creditors. The Allowed Unsecured Claims of the unsecured
                     creditors will be paid from the remainder of the disposable income of the
                     Debtor after the payment of all administrative and tax claims for sixty (60)
                     months after the Effective Date of the Plan.




Case 18-83442-CRJ7     Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                             Document     Page 12 of 35
                      Class 3 – Individual Equity.

                      Class 3 shall consist of Individual Equity Claims of the Debtor. No payment
                      will be made unless all Allowed Unsecured Claims are paid in full. No
                      Individual Equity payments are expected at this time other than the Debtor’s
                      monthly household expenses. See Exhibit 2.

                      Class 4 – Shannon League Roberts for Domestic Support Obligations.

                      Class 4 shall consist of the domestic support obligations to Shannon League
                      Roberts arising from the divorce proceedings filed in Madison County
                      Circuit Court Case No. DR-2018-900823; Shannon Roberts v. William B.
                      Roberts.

       C.     Implementation of the Plan.

              1.     Treatment of Executory Contracts and Unexpired Leases. The Debtor
       has no Executory Contracts or Unexpired Leases.

              2.      Means of Execution of The Plan.           The Plan will be funded by the
       operations of the Debtor.

              3.      Management. The Debtor shall continue to manage his affairs.

               4.      Creditor’s Committee. No creditor’s committee was formed in this
       matter. Operating reports will continue and shall be available to the creditors until the Plan
       is substantially consummated and the case is closed.

              5.      Disbursing Agent. William Barrier Roberts shall be the Disbursing Agent.

              6.      De Minimis Distributions. Notwithstanding anything to the contrary
       contained in the Plan, the Debtor shall not be required to transmit Cash to the holder of an
       Allowed Claim in an impaired class of claims if the amount of Cash otherwise due is less
       than $10.00. All Cash not so distributed shall be deposited into the Unpaid Claims Reserve,
       and such Cash shall become the sole and exclusive property of the Debtor.

       D.     Provisions Governing Distributions.

              1.      Procedure for Determination of Claims.

                     a.      Objections to Claims. Notwithstanding the occurrence of the
              Confirmation Date, and except as to any Claim that has been Allowed prior to such
              date or pursuant to this Plan, the Debtor, or any other Person authorized under
              § 502(a) of the Bankruptcy Code, may object to the allowance of any Claim against
              the Debtor or seek estimation thereof on any grounds permitted by the Bankruptcy




Case 18-83442-CRJ7       Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                               Document     Page 13 of 35
              Code; provided, however, that after the Effective Date the Bankruptcy Court shall
              have exclusive authority and responsibility to prosecute objections to Claims.

                      b.      Disputed Claims. Payments or Distributions under the Plan on
              account of disputed claims shall be held in reserve pending the allowance or
              disallowance of the Claim. To the extent any property is distributed to an entity on
              account of a Claim that is not an Allowed Claim, such property shall promptly be
              returned to the Disbursing Agent for deposit in the Unpaid Claims Reserve. To the
              extent that a disputed claim ultimately becomes an Allowed Claim, payments and
              distributions on account of such Allowed Claim shall be made in accordance with
              the provisions of the Plan. As soon as practicable after the date that the order or
              judgment of the Bankruptcy Code allowing such Claim becomes a Final Order, any
              property held in reserve as pursuant to the Plan that would have been distributed
              prior to the date on which a disputed claim becomes an Allowed Claim shall be
              distributed, together with any dividends, payments or other distributions made on
              account of such property from the date such distributions would have been due had
              such Claim then been an Allowed Claim to the date such distributions are made.

       E.     Distributions.

               1.      Undeliverable Distributions. Except as otherwise provided herein,
       distributions to holders of Allowed Claims shall be made: (a) at the addresses set forth on
       the respective proofs of Claim filed by such holders; (b) at the addresses set forth in any
       written notice of address change delivered to the Debtor after the date of the filing of any
       related proof of Claim; or (c) at the address reflected in the Schedules or the Debtor's
       records if no proof of Claim has been filed and if the Debtor have not received written
       notice of a change of address, as set forth herein. If a distribution is returned as
       undeliverable, the maker of such distribution shall hold such distribution and shall not be
       required to take any further action with respect to the delivery of the distribution unless
       and until the earlier of (1) the date on which Debtor is notified in writing of the then current
       address of the holder entitled to receive the distribution or (2) within six (6) months from
       the first payment due on the Unsecured Claims, except as the Bankruptcy Court may
       otherwise order. If the Disbursing Agent is notified in writing of the then current address
       of the holder before the expiration of the six (6) month period, the Disbursing Agent shall
       promptly make the distribution required by the Plan to the holder at the then current
       address. If the Disbursing Agent is not so notified by the end of the six (6) month period,
       and the holder of the Claim does not by such date assert a right to such undeliverable
       distribution, the holder shall be forever barred from asserting a Claim to such undeliverable
       distribution, which shall become available for distribution to holders of other Allowed
       Claims as provided in the Plan.

               2.      Manner of Payment. Distributions by the Disbursing Agent may be made,
       at the option of the Disbursing Agent, in cash, by wire transfer or by check drawn on such
       accounts established by the Disbursing Agent as necessary to effectuate the Plan.




Case 18-83442-CRJ7       Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                   Desc Main
                               Document     Page 14 of 35
               3.     Interest. Unless otherwise required by Final Order of the Bankruptcy Court
       or applicable bankruptcy law, interest shall not accrue or be paid after the Filing Date on
       any Claims, and no holder of a Claim shall be entitled to interest accruing on or after the
       Filing Date on any Claim.

              4.      Fractional Dollars; De Minimis Distributions.

                      a.       Whenever any payment of a fraction of a cent would otherwise be
              called for, the actual payment shall reflect a rounding of such fraction to the nearest
              whole cent.

                      b.      No interim distribution will be made on account of any Allowed
              Class 1 Claim to the holder of any such Allowed Class 1 Claim if the amount of
              such distribution for the Allowed Claim is less than $25.00. Immediately before
              the last distribution date on Unsecured Claims, the Disbursing Agent shall (i)
              aggregate the amount of all distributions that would have been made on account of
              an Allowed Claim but for this de minimis provision and (ii) on the last distribution
              date, make a distribution on account of such Allowed Claim in accordance with the
              Plan.

               5.       Distributions on Claims Allowed Pursuant to Section 502(h) of the
       Bankruptcy Code. Except as otherwise provided in the Plan, no distributions shall be
       made on account of a Claim arising as a result of a Final Order entered in an avoidance
       action until such Claim becomes an Allowed Claim. Any Claim that is allowed pursuant
       to § 502(h) of the Bankruptcy Code prior to the first distribution date as a result of the entry
       of a Final Order in any avoidance action will be treated in accordance with the provisions
       of the Plan. All holders of such Claims that become Allowed Claims after the first
       distribution date will receive an initial distribution on the distribution date next following
       the date on which their Claim becomes an Allowed Claim and shall receive subsequent
       distributions, if any, in accordance with the provisions of the Plan. Distributions under the
       Plan on account of anticipated Claims that may arise or become allowable as a result of the
       entry of a Final Order in any avoidance action that are not Allowed Claims as of the first
       distribution date may be held in reserve, at the discretion of the Disbursing Agent, pending
       the allowance of disallowance of such Claims.

               6.     Disbursing Agent’s Compliance with Tax Requirements. In compliance
       with § 346 of the Bankruptcy Code, to the extent applicable, the Disbursing Agent shall
       comply with all withholding and reporting requirements imposed by federal, state or local
       taxing authorities in connection with making distributions pursuant to the Plan. The
       Disbursing Agent shall be authorized to take any and all action necessary and appropriate
       to comply with such requirements. As a condition to making any distribution under the
       Plan, the Disbursing Agent may require the holder of an Allowed Claim to provide such
       holder’s taxpayer identification number, and such other information, certification or forms
       as necessary to comply with applicable tax reporting and withholding laws.
       Notwithstanding any other provision of this Plan, each entity receiving a distribution of
       dash pursuant to this Plan shall have sole and exclusive responsibility for the satisfaction




Case 18-83442-CRJ7       Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                   Desc Main
                               Document     Page 15 of 35
        and payment of tax obligations imposed by any governmental unit, including income,
        withholding and other tax obligations, on account of any such distribution.

                 7.     Reserve for Disputed Claims. Except as otherwise provided in the Plan,
        no distributions shall be made on account of a disputed claim until such claim becomes an
        Allowed Claim. In making any distribution on Allowed Claims, the Disbursing Agent shall
        calculate the amount of such distribution (for purposes of making a Pro Rata calculation)
        as if each disputed claim were an Allowed Claim, unless the Bankruptcy Court enters an
        order specifying that the disputed claim should be treated as being a different amount for
        purposes of such calculation. The Disbursing Agent shall reserve from distributions a
        sufficient amount to make a distribution on a disputed claim in the event it becomes an
        Allowed Claim (unless the Bankruptcy Court orders otherwise). To the extent a disputed
        claim is allowed pursuant to a Final Order, any reserves attributable to the disallowed
        portion of the disputed claim shall be distributed on account of Allowed Claims pursuant
        to the terms of the Plan.

                 8.      Setoffs. Subject to § 553 of the Bankruptcy Code, in the event the Debtor
        has a claim of any nature whatsoever against a holder of a Claim, the Disbursing Agent
        may, but is not required to, set off the Debtor's claim against such Claim (and any
        distributions or other rights to receive property arising out of such Claim under the Plan)
        unless any such claim of the Debtor is or will be released under the Plan. Neither the failure
        to set off nor the allowance of any Claim under the Plan shall constitute a waiver or release
        of any claim of the Debtor.

               9.     Reliance on Claims Register. In making distributions under the Plan, the
        Disbursing Agent may rely upon the accuracy of the claims register maintained by the
        Bankruptcy Court or its designee as claims agent in the case, as modified by any Final
        Order of the Bankruptcy Court disallowing Claims in whole or in part.

        F.      Reservation of the Rights of the Estate.

          All claims, rights to payment, causes of action, cross-claims and counterclaims of the
 Debtor of any kind or nature whatsoever including, without limitation, causes of action and
 avoidance actions, against third parties arising before the Confirmation Date that have not been
 disposed of prior to the Effective Date shall be preserved and treated in accordance with the Plan.
 Without limitation of the foregoing, pursuant to § 1123(b) of the Bankruptcy Code, the Debtor
 shall enforce, for the benefit of the holders of Allowed Class 3 Claims (a) the causes of action and
 avoidance actions; (b) all Claims, causes of action, and related recoveries against any person; and
 (c) all other claims, rights to payment and causes of action, cross claims and counterclaims of any
 nature or type whatsoever, at law or in equity, against any person.

 VI.    TAX CONSEQUENCES OF PLAN.

         The following summary discusses the material federal income tax consequences expected
 to result from the consummation of the Plan. This discussion is based on current provisions of the
 Internal Revenue Code of 1986, as amended (the “Tax Code’), applicable Treasury Regulations,




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                                Document     Page 16 of 35
 judicial authority and current administrative rulings and pronouncements of the Internal Revenue
 Service (the “IRS”). There can be no assurance that the IRS will not take a contrary view, and no
 ruling from the IRS has been or will be sought by the Debtor or his advisors. Legislative, judicial
 or administrative changes or interpretations may be forthcoming that could alter or modify the
 statements and conclusions set forth herein. Any such changes or interpretations may or may not
 be retroactive and could affect the tax consequences to, among others, the Debtor and the holders
 of Claims.

         The following summary is for general information only. The federal income tax
 consequences of the Plan are complex and subject to significant uncertainties. This summary does
 not address foreign, state or local tax consequences of the Plan, nor does it purport to address all
 of the federal income tax consequences of the Plan. This summary does not purport to address the
 federal income tax consequences of the Plan to taxpayers subject to special treatment under the
 federal income tax laws, such as broker-dealers, tax-exempt entities, financial institutions,
 insurance companies, S corporations, small business investment companies, mutual funds,
 regulated investment companies, foreign corporations, and non-resident alien individuals. EACH
 HOLDER OF A CLAIM IS STRONGLY URGED TO CONSULT ITS OWN TAX ADVISOR
 REGARDING THE POTENTIAL FEDERAL, STATE, LOCAL OR FOREIGN TAX
 CONSEQUENCES OF THE PLAN.

        A.      Federal Income Tax Consequences to the Debtor.

      NOTHING STATED IN THE DISCUSSION WHICH FOLLOWS IS OR SHOULD BE
 CONSTRUED AS TAX ADVICE TO ANY CREDITOR OF THE DEBTOR. CREDITORS
 SHOULD CONSULT WITH THEIR OWN TAX ADVISORS REGARDING THE TAX
 CONSEQUENCES OF THE PLAN.

         The statements contained in this portion of the Disclosure Statement are based on existing
 provisions of the Internal Revenue Code of 1986, as amended ("Code"), Treasury Regulations
 promulgated thereunder, existing court decisions, published Revenue Rulings, Revenue
 Procedures and Technical Information Releases of the Internal Revenue Service ("IRS":), and
 legislative history. Any changes in existing law may be retroactive, may affect transactions
 commenced or completed prior to the effective date of the changes, and may significantly modify
 this discussion.

        Legislation may be introduced in future sessions of Congress which could eliminate or alter
 some of the anticipated tax results of the Plan. No attempt has been made to evaluate in any detail
 the impact, which may be substantial, of any proposed legislation on the Plan.

        The following is intended to be only a summary of certain tax considerations under current
 law which may be relevant to the creditors of the Debtor. It is impractical to set forth in this
 Disclosure Statement all aspects of federal, state, and local tax law which may have tax
 consequences to the Debtor and his creditors.

        Some of the tax aspects discussed herein are complex and uncertain. Moreover, the
 discussion below is necessarily general, and the full tax impact of the Plan upon the creditors will




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                                Document     Page 17 of 35
 vary depending upon each creditor's individual circumstances. Therefore, all the creditors should
 satisfy themselves as to the federal, state and local tax consequences of the Plan by obtaining
 advice solely from their own advisors.

      THE CREDITORS SHOULD NOT CONSIDER THE DISCUSSION WHICH
 FOLLOWS TO BE A SUBSTITUTE FOR CAREFUL, INDIVIDUAL TAX PLANNING AND
 ARE EXPRESSLY CAUTIONED THAT THE INCOME TAX CONSEQUENCES TO THE
 CREDITORS ARE COMPLEX AND VARY CONSIDERABLY DEPENDING UPON EACH
 PARTY'S CIRCUMSTANCES. ACCORDINGLY, CREDITORS ARE STRONGLY URGED
 TO CONSULT THEIR OWN TAX ADVISORS WITH REGARD TO THEIR PARTICULAR
 TAX SITUATIONS.

               1.   The Plan. The terms of the Plan provide for payment provisions which
        should be analyzed individually for each Creditor with its tax advisor.

               2.      Creditors.

                       a.      To the extent that Creditors receive payments under the Plan as
               interest, such Creditors will recognize interest income under § 51(a)(4) of the Code.

                      b.     To the extent that, pursuant to the Plan, creditors receive cash
               payments from the Debtor in satisfaction of their claims, such creditors may
               recognize gain or loss, as the case may be, equal to the difference between the
               amount of the cash so received and their adjusted basis in such claim.

                       c.      The gain or loss to be recognized by such creditors will be either
               ordinary income or capital gain depending on, among other factors, the status of
               the creditor and the nature of Claim in the hands of the creditor. While capital gains
               and ordinary income are presently taxed at the same rates, §§ 1211 and 1212 of the
               Code, limit the ability to offset net capital losses against ordinary income.

                3.      Bad Debt Deduction. Section 166 of the Code permits the deduction of
        debts which have become totally or partially worthless. Therefore, to the extent that certain
        creditors will receive less than full payment from the Debtor with respect to the debt owed
        such creditors, such creditors may be able to deduct such bad debts for federal income tax
        purposes. The nature of the deduction for a bad debt depends on its classification as either
        a business or non-business debt. For non-corporate taxpayers, non-business bad debts are
        deductible as short-term capital losses, and so are subject to the limitations on deductibility
        of capital losses under §§ 1211 and 1212 of the Code. Business bad debts and bad debts
        held by corporate taxpayers are deductible as ordinary losses. A bad debt is deductible to
        a creditor at the time it becomes wholly or partially worthless determined under the
        particular facts and circumstances.




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                                Document     Page 18 of 35
               4.       Income from the Discharge of Indebtedness. As a general rule,
        § 61(a)(12) of the Code, requires that gross income for federal income tax purposes include
        income from the discharge of indebtedness. However, § 108(a)(1) of the Code, specifically
        excludes discharge of indebtedness income from gross income if the discharge occurs in a
        Title 11 (bankruptcy) case. Therefore, the Debtor will not recognize income on the
        discharge of indebtedness pursuant to the Plan.

                Section 108(b) of the Code does, however, provide that the amount excluded from
        gross income under § 108(a)(1) must be applied to reduce, in order, the following tax
        attributes of the Debtor: (a) net operating losses and net operating loss carryovers; (b)
        general business credits; (c) capital loss carryovers; (d) the basis of the property of the
        taxpayer (but not below the aggregate liabilities of the taxpayer after the discharge,
        pursuant to § 1017(b)(2) of the Code); and (e) foreign tax credit carryovers.

               Alternatively, the Debtor may elect, under § 108(b)(5) of the Code, to apply any
        portion of the reduction referred to above to a reduction of the taxpayer's basis in
        depreciable property and real estate held for sale in the ordinary course of business.

                The effect of the reduction of tax attributes is to defer the recognition of income on
        the discharge of indebtedness income until such time as the reduced tax attribute would
        have otherwise been available to the Debtor to decrease taxable income.

                5. State and Local Taxes. In addition to the federal income tax consequences
        described above, Creditors should consider potential state and local tax consequences
        which are not discussed herein. In general, the State of Alabama imposes a tax against
        income of residents and non-residents of Alabama who have income from sources within
        the state of Alabama. The Alabama income tax is imposed on taxable income at a
        graduated rate of up to five percent (5%).

             THE FOREGOING ANALYSIS IS NOT INTENDED TO BE A SUBSTITUTE
        FOR CAREFUL TAX PLANNING, PARTICULARLY SINCE CERTAIN OF THE
        INCOME TAX CONSEQUENCES OF THE PLAN WILL NOT BE THE SAME FOR
        ALL CREDITORS, DUE TO THEIR RESPECTIVE DIFFERING SOURCES AND
        TYPES OF INCOME AND DEDUCTIONS, AND OTHER FACTORS.
        ACCORDINGLY, CREDITORS ARE URGED TO CONSULT WITH THEIR OWN
        TAX ADVISORS WITH REFERENCE TO THEIR OWN TAX SITUATION.

 VII.   PLAN CONFIRMATION PROCESS.

        A.      Confirmation.

         At the Confirmation Hearing, the Bankruptcy Court shall confirm the Plan if the Plan
 satisfies all requirements of § 1129(a) include the following: (1) the Plan must be accepted by all
 impaired classes, (2) the Plan must be feasible, and (3) with respect to each holder of a Claim or
 Interest that does not vote to accept the Plan (even if such holder is a member of a Class that as a
 whole votes to accept the Plan), the Plan must be in the “best interest” of such holder in that the




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                 Desc Main
                                Document     Page 19 of 35
 Plan provides for a distribution to the holder that is not less than the amount such holder would
 receive in a hypothetical Chapter 7 liquidation of the Debtor. With respect to the requirement that
 each impaired class votes to accept the Plan, § 1129(b) provides that if all other requirements of
 § 1129(a) are satisfied, the Plan still may be confirmed if the Plan, with respect to each impaired
 class that does not accept the Plan, “does not discriminate unfairly” and is “fair and equitable”
 with respect to such class. The acceptance, feasibility, unfair discrimination and fair and equitable
 concepts are discussed in more detail below.

        B.      Acceptance of Plan by Voting.

        For the Plan to be accepted by an impaired class of claims, it must be accepted by holders
 of Claims in such Class that hold at least two-thirds in dollar amount and one-half in number of
 the Claims in such Class held by creditors that actually vote. A Class is impaired if the legal,
 equitable, or contractual rights of the members of such class are modified or altered by the Plan
 (with an exception, not applicable to the Plan, for curing defaults, reinstating maturity and
 compensating certain damages). Classes 1, 2, 3 and 4 in this Plan are impaired and entitled to vote.

         If any impaired Class does not accept the Plan, and at least one impaired Class accepts the
 Plan, the Debtor may seek confirmation of the Plan under the “cram down” provisions of § 1129(b)
 of the Bankruptcy Code. To obtain confirmation despite non-acceptance by one or more impaired
 Classes, the Debtor must show to the Bankruptcy Court that the Plan does not discriminate unfairly
 and is fair and equitable with respect to each such Class. Each of these requirements is discussed
 further, as follows:

                1.      Unfair Discrimination. A plan does not discriminate unfairly with respect
        to a non-accepting Class if it protects the rights of such Class in a manner consistent with
        the treatment of other Classes with similar rights. The unfair discrimination test does not
        require that similarly situated Classes be treated in exactly the same way. The test requires
        that such Classes be treated substantially similarly or if not treated substantially similarly,
        that differences in treatment be fair.

               2.      Fair and Equitable. A plan does not discriminate unfairly if either (a) each
        holder of a Claim or Interest in the non-accepting Class receives or retains under the Plan
        property of a value equal to the Allowed amount of such Claim or Interest; or (b) the
        holders of Claims or Interests that are junior to such Class receive or retain nothing under
        the Plan on account of such Claims or Interests (the “Absolute Priority Rule”).

        C.      Feasibility.

         As a condition to confirmation of the Plan, § 1129(a) of the Bankruptcy Code requires that
 Confirmation is not likely to be followed by the liquidation of the Debtor (except as provided in
 the Plan) or the need for further financial reorganization. The Plan provides for reorganization of
 the Debtor's assets. The Debtor is not likely to need further financial reorganization. Accordingly,
 the Plan is feasible, and the Debtor can demonstrate that the Plan is not likely to be followed by
 the liquidation of the Debtor (except as provided in the Plan) or the need for further financial
 reorganization of the Debtor.




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                                Document     Page 20 of 35
        D.      Best Interest of Creditors Test.

                1.      Overview. Confirmation requires that each holder of an Allowed Claim
        and Interest that is included in an Impaired Class (a) accept the Plan or (b) receive or retain
        under the Plan, property of a value, as of the Effective Date of the Plan, that is not less than
        the value such holder would receive or retain if the Debtor was liquidated under chapter 7
        of the Bankruptcy Code. This requirement applies to all dissenting or non-voting members
        of impaired Classes, even with respect to a Class that has accepted the Plan.

               To determine what holders of Claims and Interests would receive in a hypothetical
        Chapter 7 liquidation, the Bankruptcy Court will consider the dollar amount that would be
        generated in a straight liquidation of the Debtor's assets and properties. Such amount would
        be reduced by the costs and expenses of liquidation by additional administrative expense
        claims that would accrue in Chapter 7. Chapter 7 costs and expenses would include,
        without limitation, (a) statutory fees payable to the Chapter 7 trustee pursuant to § 326 of
        the Bankruptcy Code; (b) fees payable to attorneys, accountants, auctioneers, liquidators
        and other professional advisors that the Chapter 7 Trustee would engage to assist in
        discharging his duties under the Bankruptcy Code; and (c) any unpaid expenses incurred
        by the Debtor during the case, such as unpaid vendor invoices and fees and reimbursement
        of expenses of attorneys, accountants and other professional advisors retained by the
        Debtor or statutory committees or any party asserting a substantial contribution claim under
        § 503(b)(3) of the Bankruptcy Code.

                Based on the foregoing, holders of Allowed Claims in Class 1 would likely receive
        no distributions. The Plan also provides for payment of priority and administrative claims
        that would be payable from the proceeds of causes of action before any distribution to
        Unsecured Claims. The Plan, therefore, provides for distributions not less than the value
        that such holders would receive in Chapter 7.

                Accordingly, the Plan meets the best interests of creditors test with respect to all
        holders of Claims and interests. The Debtor believes the Plan will maximize the potential
        return to all parties in interest.

                There are no known avoidance actions.

               Based on the foregoing, the Debtor has concluded that reorganization under the
        Plan will result in a greater distribution to holders of all classes than liquidation through
        Chapter 7.

VIII.   ALTERNATIVES TO PLAN.

         As an alternative to confirming the Plan, the Bankruptcy Court could convert the Case to
 a case under Chapter 7 of the Bankruptcy Code, dismiss the Case, or consider another Chapter 11
 plan.




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                   Desc Main
                                Document     Page 21 of 35
        A.      Liquidation under Chapter 7.

         If the Plan is not confirmed, and no other alternative plan is proposed, the Bankruptcy
 Court could find cause to convert the Case to a case under Chapter 7 of the Bankruptcy Code. In
 Chapter 7, a trustee would be elected or appointed to liquidate the assets of the Debtor for
 distribution to the Debtor's creditors in accordance with the priorities established by the
 Bankruptcy Code.

         The Debtor believes that conversion of the Case to a case under Chapter 7 of the
 Bankruptcy Code would result in lower distributions to all Creditors. Substantially all assets of
 the Debtor, with the exception of the avoidance actions, are subject to liens of the holders of
 Secured Claims (the “Secured Parties”). In a chapter 7 case, the Secured Parties likely would be
 able to obtain relief from automatic stay under § 362(d) to foreclose on its liens. In this event,
 essentially no assets, other than avoidance actions, would remain to satisfy the claims of creditors
 other than the Secured Parties.

        As disclosed on the Debtor’s Summary of Assets and Liabilities, a copy of which is
 attached hereto as Exhibit 3, total assets of the Debtor totals $480,400.00, and total liabilities are
 $6,264,790.67. There is no unencumbered equity in any asset.

        Conversion to Chapter 7 would result in a No Asset Case.

        Based on the foregoing, the Debtor believes that holders of Claims and Interests would
 receive a lower distribution on account of such Claims and Interests if the Case were converted to
 Chapter 7.

        B.      Comparison of Plan.

         The Debtor is of the opinion that the proposed Plan provides more for each class of
 creditors and represents the statutorily mandated payment of priority claims.

        C.      Dismissal of Case.

         Dismissal of the Case likely would have a disastrous result on the value of the Debtor's
 assets and the return to holders of Claims and Interests. Without limitation, dismissal of the Case
 would leave the Debtor without sufficient funding to preserve assets pending his liquidation.
 Dismissal also would terminate all means for the repayment of Unsecured Creditors under the
 Plan. Accordingly, dismissal of the case would drastically reduce the value of the Debtor’s assets,
 would lower the return to the Secured Creditors and essentially would eliminate any return to
 holders of other Claims and Interests. The Debtor believes that dismissal of the case is not a viable
 alternative to the Plan.




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                                Document     Page 22 of 35
 Alternative Chapter 11 Plan.


         If the Plan is not confirmed, the Debtor and other parties in interest, including, without
 limitation, holders of Claims and Interests and any official statutory committee, could propose an
 alternative plan. The Debtor believes, however, that the Plan will provide the greatest and most
 expeditious return to holders of Claims and Interests. Because the Claims of the Secured Parties
 exceed the expected liquidation value of the Debtor's assets, an alternative plan would not likely
 provide for any distributions to parties other than the Secured Parties. The formulation, negotiation
 and confirmation of an alternative plan also would delay significantly the administration of the
 Debtor's case and would have a negative impact on the Debtor's ability to reorganize. Under the
 circumstances, the Debtor submits that confirmation of an alternative plan is unlikely on terms and
 conditions as favorable to holders of Claims and Interests as those in the Plan.

 IX.    CONCLUSION/RECOMMENDATION.

         Based on the foregoing, the Debtor believes that the Plan is the best alternative to maximize
 the value of the Debtor’s assets and to maximize the return to creditors and equity security holders.
 The Debtor believes confirmation of the Plan is in the best interests of all parties in interest in the
 Case.

        The Debtor recommends that all parties entitled to cast ballots vote to ACCEPT the Plan.


        Respectfully submitted August 15, 2019.

                                                        Debtor and Debtor-in-Possession

                                                        /s/ William Barrier Roberts
                                                        WILLIAM BARRIER ROBERTS

                                                        /s/ Stuart M. Maples
                                                        STUART M. MAPLES
                                                        (ASB-1974-S69S)

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com




Case 18-83442-CRJ7         Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                  Desc Main
                                 Document     Page 23 of 35
                                 CERTIFICATE OF SERVICE

        I do hereby certify that a copy of the foregoing document was served on the following by
 the method listed below on August 15, 2019.

 Richard Blythe
 Bankruptcy Administrator
 P.O. Box 3045
 Decatur, AL 35602
 Via email: richard_blythe@alnba.uscourts.gov

 All parties requesting notice via ECF

 Via U.S. Mail to all creditors on matrix

                                                    /s/ Stuart M. Maples
                                                    STUART M. MAPLES




Case 18-83442-CRJ7        Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50            Desc Main
                                Document     Page 24 of 35
Label Matrix for local noticing                      Advantage Funding Commercial Capital Corp.           Bank Independent
1126-8                                               Engel, Hairston & Johanson, P.C.                     c/o Cindy Slate Cook
Case 19-81116-CRJ11                                  c/o Alto Lee Teague, IV                              PO Box 1344
NORTHERN DISTRICT OF ALABAMA                         P.O. Box 11405                                       Decatur, AL 35602-1344
Decatur                                              Birmingham, AL 35202-1405
Thu Aug 15 15:14:41 CDT 2019
Just For You Coach, Inc.                             U. S. Bankruptcy Court                               *Advantage Funding Commercial Capital Co.
1725 Walls Lane NE                                   400 Well Street                                      c/o Alto Teague
Hartselle, AL 35640-5933                             P. O. Box 2775                                       P.O. Box 11405
                                                     Decatur, AL 35602-2775                               Birmingham, AL 35202-1405


*Internal Revenue Service                            *McCarthy, Burgess & Wolfe                           *McGriff Tire
P.O. Box 7346                                        26000 Cannon Rd.                                     1625 County Road 437
Philadelphia, PA 19101-7346                          Cleveland, OH 44146-1807                             Good Hope, AL 35055-1215



*Secretary of the Treasury                           *U.S. Securities and Exchange Commission             *United States Attorney
1500 Pennsylvania Ave., NW                           Regional Director, Branch of Reorganizat             Northern District of Alabama
Washington, DC 20220-0001                            Atlanta Regional Office, Suite 900                   1801 Fourth Avenue North
                                                     950 East Paces Ferry Road                            Birmingham, AL 35203-2101
                                                     Atlanta, GA 30326-1180

*United States Attorney General                      *United States Bankruptcy Administrator              Bank Independent
U.S. Department of Justice                           Northern District of Alabama                         Hartselle Branch
950 Pennsylvania Avenue, NW                          1800 Fifth Avenue North                              PO Box 5000
Washington DC 20530-0001                             Birmingham, AL 35203-2111                            Sheffield, Al 35660-0137


Bank Independent                                     Bank Independent                                     CIT Bank
PO BOX 5000                                          PO Drawer B                                          155 Commerce Way
Sheffield, AL 35660-0137                             Sheffield, AL 35660                                  Portsmouth, NH 03801-3243



CIT Bank, N.A.                                       Internal Revenue Service                             Joyce White Vance
c/o Andrew J. Shaver                                 Centralized Insolvency Operations                    US Attorney General
Bradley Arant Boult Cummings LLP                     PO Box 7346                                          1801 4th Ave North
1819 Fifth Avenue North                              Philadelphia, PA 19101-7346                          Birmingham, AL 35203-2101
Birmingham, AL 35203-2120

Loretta Lynch US Attorney General                    Luther Strange                                       McGriff Industries, Inc.McGriff Tire
US Dept. of Justice                                  Alabama Attorney General                             c/o Lynne Ponder
950 Pennsylvania Ave NW                              PO Box 300152                                        P.O. Box 1148
Washington, DC 20530-0009                            Montgomery, AL 36130-0152                            Cullman, AL 35056-1148


State of Alabama                                     Richard M Blythe                                     Stuart M Maples
Department of Revenue Legal Division                 United States Bankruptcy Administrator               Maples Law Firm, PC
PO Box 320001                                        PO Box 3045                                          200 Clinton Avenue W.
Montgomery, AL 36132-0001                            Decatur, AL 35602-3045                               Suite 1000
                                                                                                          Huntsville, AL 35801-4919




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

             Case 18-83442-CRJ7              Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50                             Desc Main
                                                   Document     Page 25 of 35
(u)CIT BANK, N.A.                     End of Label Matrix
                                      Mailable recipients   26
                                      Bypassed recipients    1
                                      Total                 27




             Case 18-83442-CRJ7   Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50   Desc Main
                                        Document     Page 26 of 35
 Fill in this information to identify your case and this filing:
                                                                                                                                                     EXHIBIT 1
 Debtor 1                    William Barrier Roberts
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ALABAMA

 Case number            18-83442-CRJ-11                                                                                                                         Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2203 Annadale Rd SE
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                        Duplex or multi-unit building             the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Huntsville                        AL        35801-0000                         Land                                      entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                              $468,500.00                $468,500.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Madison                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another       (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $468,500.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy


          Case
          Case 18-83442-CRJ7
               18-83442-CRJ11 Doc
                               Doc154
                                   14 Filed
                                        Filed 08/15/19
                                              11/30/18 Entered
                                                        Entered 08/15/19
                                                                 11/30/18 15:17:50
                                                                          11:01:34                                                                          Desc
                                                                                                                                                            Desc Main
                                                                                                                                                                 Main
                                    Document
                                      Document     Page 27 of 35
                                                    Page 1 of 23
 Debtor 1        William Barrier Roberts                                                                             Case number (if known)     EXHIBIT     1
                                                                                                                                                 18-83442-CRJ-11
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       GMC                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sierra                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2014                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                108,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Location: 2115 Big Cove Rd.,
        Huntsville AL 35801                                     Check if this is community property                                    $8,500.00                 $8,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $8,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Location: 2115 Big Cove Rd., Huntsville AL 35801                                                                                  $100.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes.     Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes.     Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes.     Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes.     Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy


        Case
        Case 18-83442-CRJ7
             18-83442-CRJ11 Doc
                             Doc154
                                 14 Filed
                                      Filed 08/15/19
                                            11/30/18 Entered
                                                      Entered 08/15/19
                                                               11/30/18 15:17:50
                                                                        11:01:34                                                                        Desc
                                                                                                                                                        Desc Main
                                                                                                                                                             Main
                                  Document
                                    Document     Page 28 of 35
                                                  Page 2 of 23
 Debtor 1          William Barrier Roberts                                                                                  Case number (if known) EXHIBIT     1
                                                                                                                                                    18-83442-CRJ-11
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Location: 2115 Big Cove Rd., Huntsville AL 35801                                                                           $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes.       Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                             $400.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               PNC                                                                 $3,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                       % of ownership:

                                                  Bullet & Barrel                                                                  49          %                     Unknown


                                                  Roberts LLC                                                                      50          %                     Unknown



Official Form 106A/B                                                                      Schedule A/B: Property                                                           page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy


         Case
         Case 18-83442-CRJ7
              18-83442-CRJ11 Doc
                              Doc154
                                  14 Filed
                                       Filed 08/15/19
                                             11/30/18 Entered
                                                       Entered 08/15/19
                                                                11/30/18 15:17:50
                                                                         11:01:34                                                                         Desc
                                                                                                                                                          Desc Main
                                                                                                                                                               Main
                                   Document
                                     Document     Page 29 of 35
                                                   Page 3 of 23
 Debtor 1        William Barrier Roberts                                                                    Case number (if known)EXHIBIT     1
                                                                                                                                   18-83442-CRJ-11


                                          WBR. Inc.                                                               50%         %                      Unknown


                                          Tennessee Valley Fence, Inc.                                            11%         %                      Unknown


                                          McCurry Roberts                                                         33.33       %                      Unknown


                                          RBO, LLC                                                                33.33       %                      Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                        Type of account:                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy


         Case
         Case 18-83442-CRJ7
              18-83442-CRJ11 Doc
                              Doc154
                                  14 Filed
                                       Filed 08/15/19
                                             11/30/18 Entered
                                                       Entered 08/15/19
                                                                11/30/18 15:17:50
                                                                         11:01:34                                                         Desc
                                                                                                                                          Desc Main
                                                                                                                                               Main
                                   Document
                                     Document     Page 30 of 35
                                                   Page 4 of 23
 Debtor 1        William Barrier Roberts                                                                                          Case number (if known)       EXHIBIT     1
                                                                                                                                                                18-83442-CRJ-11
29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.      Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                  Surrender or refund
                                                                                                                                                                    value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.      Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.      Describe each claim.........

                                                          Claim against Melanie and Rhett Murry involing Bullet and
                                                          Barrel & Roberts, LLC                                                                                                 Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.      Describe each claim.........

35. Any financial assets you did not already list
     No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $3,000.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy


           Case
           Case 18-83442-CRJ7
                18-83442-CRJ11 Doc
                                Doc154
                                    14 Filed
                                         Filed 08/15/19
                                               11/30/18 Entered
                                                         Entered 08/15/19
                                                                  11/30/18 15:17:50
                                                                           11:01:34                                                                                  Desc
                                                                                                                                                                     Desc Main
                                                                                                                                                                          Main
                                     Document
                                       Document     Page 31 of 35
                                                     Page 5 of 23
 Debtor 1         William Barrier Roberts                                                                                               Case number (if known)  EXHIBIT     1
                                                                                                                                                                 18-83442-CRJ-11

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $468,500.00
 56. Part 2: Total vehicles, line 5                                                                             $8,500.00
 57. Part 3: Total personal and household items, line 15                                                          $400.00
 58. Part 4: Total financial assets, line 36                                                                    $3,000.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $11,900.00              Copy personal property total            $11,900.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $480,400.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy


           Case
           Case 18-83442-CRJ7
                18-83442-CRJ11 Doc
                                Doc154
                                    14 Filed
                                         Filed 08/15/19
                                               11/30/18 Entered
                                                         Entered 08/15/19
                                                                  11/30/18 15:17:50
                                                                           11:01:34                                                                                   Desc
                                                                                                                                                                      Desc Main
                                                                                                                                                                           Main
                                     Document
                                       Document     Page 32 of 35
                                                     Page 6 of 23
 EXHIBIT 2

 William Barrier Roberts                               Monthly Expenses
  Groceries                                                     $700.00
  Utilities                                                     $384.00
  Health Ins.                                                   $153.00
  Fuel                                                          $350.00
  Auto upkeep                                                   $100.00
  Auto Ins.                                                      $72.00
  Cable                                                         $190.00
  Cell Phone                                                     $72.00
  Clothing                                                      $100.00
  Misc. Household Expenses                                       300.00

                                        Total:                $2,421.00




Case 18-83442-CRJ7   Doc 154 Filed 08/15/19 Entered 08/15/19 15:17:50   Desc Main
                           Document     Page 33 of 35
 Fill in this information to identify your case:
                                                                                                                                                             EXHIBIT 3
 Debtor 1                   William Barrier Roberts
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ALABAMA

 Case number           18-83442-CRJ-11
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             468,500.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              11,900.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             480,400.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             491,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $              19,382.48

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $          5,754,408.19


                                                                                                                                     Your total liabilities $                 6,264,790.67


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                9,799.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy


          Case
          Case 18-83442-CRJ7
               18-83442-CRJ11 Doc
                               Doc154
                                   20 Filed
                                       Filed 08/15/19
                                             11/30/18 Entered
                                                       Entered 08/15/19
                                                                11/30/18 15:17:50
                                                                         11:07:11                                                                                        Desc
                                                                                                                                                                         Desc Main
                                                                                                                                                                              Main
                                    Document
                                      Document    Page 34 of 35
                                                   Page 1 of 2
 Debtor 1      William Barrier Roberts
                                                                                                                             EXHIBIT 3
                                                                                          Case number (if known) 18-83442-CRJ-11

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $               5,812.59

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $                   0.00

       9d. Student loans. (Copy line 6f.)                                                                $                   0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 5,812.59




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy


        Case
        Case 18-83442-CRJ7
             18-83442-CRJ11 Doc
                             Doc154
                                 20 Filed
                                     Filed 08/15/19
                                           11/30/18 Entered
                                                     Entered 08/15/19
                                                              11/30/18 15:17:50
                                                                       11:07:11                                                         Desc
                                                                                                                                        Desc Main
                                                                                                                                             Main
                                  Document
                                    Document    Page 35 of 35
                                                 Page 2 of 2
